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  UNITED STATES BANKRUPTCY COURT
  FOR THE DISTRICT OF NEW JERSEY
  Caption in compliance with D.N.J. LBR 9004-2(c)

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  Allen J. Underwood II, Esq.
  Email: aunderwood@litedepalma.com

   In re:                                                         Case No. 21-30589 (MBK)
                                                                  Chapter 11
   LTL MANAGEMENT LLC                                             Judge: Hon. Michael B. Kaplan,
                                                                  C.U.S.B.J.
                                       Debtor.


            NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

TO:     Clerk of Court
        United States Bankruptcy Court
        Clarkson S. Fisher US Courthouse
        402 East State Street
        Trenton, NJ 08608

            PLEASE TAKE NOTICE that in accordance with Fed. R. Bankr. P. 2002 and 9010(b) the
 undersigned counsel Allen J. Underwood II, Esq. enters an appearance in this case on behalf of the
 representative plaintiff in DiSanto v. Johnson & Johnson, Alberta Court of Queen’s Bench (File Number
 1901-11748) as represented by The Guardian Law Group LLP in Canada (the “DiSanto Canadian Class
 Action Creditors”). Request is made that all documents filed in this case and identified below be served on
 the undersigned at this address:

            ADDRESS:
                       Allen J. Underwood II, Esq.
                       LITE DEPALMA GREENBERG & AFANADOR,LLC
                       570 Broad Street, Suite 1201
                       Newark, New Jersey 07102
                       Telephone: (973) 623-3000
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         DOCUMENTS:
         ☒       All notices entered pursuant to Fed. R. Bankr. P. 2002.
         ☒       All documents and pleadings of any nature, including but not limited to all papers,
                 motions or applications served or required to be served in this case or any adversary
                 proceeding filed in connection therewith.

        PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the notices and

papers filed in the proceeding specified above, but also includes without limitation orders and notices of any

application, motion, pleading, request, suggestion, complaint or demand, whether formal or informal, whether

written or oral, and whether transmitted and conveyed by mail, delivery, telephone, telegraph, telex, electronic

means or otherwise, which may affect or seek to affect in any way the rights or interests of the above

referenced creditor in this Chapter 11 case.

        PLEASE TAKE FURTHER NOTICE that nothing contained herein shall constitute a waiver of

any rights or remedies of the above referenced creditor under title 11 of the United States Code or applicable

law, including, without limitation, the right to (i) amend, modify, or supplement this Notice, or (ii) raise any

jurisdictional argument now or at a later date, including, but not limited to, the right to assert lack of subject

matter jurisdiction.




         Date: February 9, 2022           /s/ Allen J. Underwoood, II
                                          ALLEN J. UNDERWOOD II
